Case 6:19-bk-06589-KSJ Doc1 Filed 10/08/19 Page 1of 14

  
 
  

CofA LnV\dnt 9 Faden ttleh toldentity

 

| United States Bankruptcy Court for the:
MIDDLE DISTRICT OF FLORIDA _

Case number iimow Chapter 44

t C1 Gheck if this an
i amended filing

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 49

If more space is neoded, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number {if Known).
For more information, 4 separate document, instructions for Bankruptcy Forms for Non-individuals, \s available.

1. Debtor's name Via Airlines, Inc.

 

 

2. All other names dehtar
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

 

——— a ct = 2 ti rte nema met Ree nee a

3. Debtor's federal
Employer Kientification  XX-XXXXXXX

 

 

 

 

Number (EIN)
4. Debtor's address Principal place of business Malling address, if different from principal place of
business
218 Jackeon Street
-Maitiand,FL32751 0 oa oe
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & 2IF Cade
Seminole Location of principal assets, if differant from principal
Gounty : place of business

Number, Street, City, Stale & ZIP Code

§, Debtor's website (URL)

 

 

6. Type of debtor | Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
J Partnerehip (excluding LLP)
1 other. Specify:

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 6:19-bk-06589-KSJ Doc1 Filed 10/08/19 Page 2 of 14

Debtor Via Airlines, Inc. _

Case number {if known)

 

Name”

7. Describe debtor's business

A. Check one:

( Health Care Susiness (as defined In 11 U.S.C. § 101(27A))
CO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CO) Raliroad (as defined in 11 U.S.C. § 101(44))

0 Stockbroker (as defined in 11 U.S.C. § 101(53A))

0 Commodity Broker (as defined in 14 U.S.C. § 104{6})
Clearing Bank (as defined in 11 U.S.C. § 781(3))

I None of the above

B. Check aif that apply

CO Tax-exempt entity (as described in 26 U.5.C. §501)

C1 investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
0 investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American industry Classification System) 4-digit code that best describes debtor.
See http//www.uscourts gov/four-digit-national-association-naies-codes.

 

6. Under which chapter of the
Bankruptcy Code Is the
debtor filing?

Check one:
Cl Chapter 7
() Chapter 9

@ Chapter 11. Check aif that apply:

{ Debtors aggregate noncontingent liquidated debts {excluding debts owed to insiders or affiliates)
are less than $2,725,625 (amount subiact to adjustment on 4/01/22 and every 3 years after that).

(1 The debtor Is a small business debtor as defined in 11 U.S.C. § 101(51D). ifthe debtor is a small
business debtor, attach the most recent balance sheet, statement of operations, cash-flow
statement, and federal income tax retum or if all of these documents do not exist, follow the
pracedure in 11 U.S.C. § 1116(1 B).

A plan is being filed with this petition.

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126{b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

(The debtor is 2 sheil company as defined in the Securities Exchange Act of 1934 Rule 12b-2,

oo

O Chapter 12

 

8. Were prior bankruptcy
cases filed by or against
the debtor within the last 9
years?

If mare than 2 cases, attach a
separate list.

 

18, Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate iist

Official Form 204

 

@ No.
QO yves.
District _ When oo . Case number _ _
District ee When . Gase number
No
CQ Yes.
Debtor _ _ . Relationship
District When Case number, if known _

 

Voluntary Petition for Non-individuals Filing for Bankruptcy page 2
Debtor Via Airlines, Inc,

441.

12.

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Name

Why is the case filed in
this district?

Check ail that apply;

IE Debtor has had its domicile, principal place of business, or
Preceding the date of this petition or for a longer part of su

Case number {if known)

principal assets in this district for 180 days immediately
ch 780 days than in any other district.

O a bankruptcy case conceming debtor's affiliate, general partner, or partnership Is pending in this district.

 

Does the debterownar ag No
have possession of any

 

real property or personal DJ Yes, “"Swer below for each property thal needs immediate attention. Attach additional sheets If needed.

property that needs
immediate attention?

Why does the property need immediate attention? (Check all that apply.)

C7 it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

(1 itneeds to be physically secured or protected from the weather.

C It includes perishable goods or assets that could
livestock, seasonal goods, meat, dairy, produce,

0 Other

Where is the property?

is the property insured?

DO No

OC ves, insurance agency

Contact name

Phone

1) statistical ang administrative information

13.

14.

15,

16,

Official Form 204

 

Debtor's estimation of Check ore:

availabie funds

Number, Street, City, State & ZIP Code

 

 

 

& Funds will be available for distribution to unsecured creditors.

D After any administrative expenses are paid, no funds will be available to unsecured creditors.

Estimated number of

0 1-49
creditors @ so-o9

C 100-199

0 200-999
Estimated Assets C $0 - $50,000

0 $50,001 - $100,000
C1 §400,001 - $500,000
D $500,001 - $4 miltion

 

Gl $0 - $50,000
1 $50,001 - $100,000

D $100,001 - $500,000
1 $800,001 - $4 miltion

Estimated liabilities

1 4,000-5,000
CJ 5001-10,000
C 10,007-25,000

CO 25,001-80,000
2 50,001-100,000
C1 More than100,000

 

1 $1,000,001 - $10 million

IE $10,000,001 - $50 million
2 $50,000,001 - $100 million
© $160,000,001 - $500 million
0D $1,000,001 - $10 million

© $40,000,001 --$50 million
1 $60,000,001 - $100 million
DO $100,000,001 - $500 mitlion

Voluntary Petition for Non-Individuals Filing for Bankruptcy

© $500,000,001 - $1 billion

D $1,000,000,004 - $10 billion
DI $10,000,000,001 - $50 billion
C More than $80 billion

© $500,000,001 - $4 billion

2 $1,000,000,001 - $19 billion
C2 $10.000,000,001 - $50 billion
0 Mare than $50 billion

page 3

quickly deteriorate or lose value without attention (for example,
or securites-relaied assets or other o ptions).
Case 6:19-bk-06589-KSJ Doc1 Filed 10/08/19 Page 4 of 14

Debtor Via Airlines. inc. an Case number (if krivwn)
Neme er 7

 

EES
pe Request for Relief, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 182, 1941, 15419, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accerdance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
J have been authorized to file this petition on behalf of the debtor,

! have examined the information in this petition and have a reasonable belief that the information is trued and correct.
| daciare under penalty of perjury that the foregoing is true and correct.

Executed on , Gp
MM /DD/ YYYY

eae

   

Amos Vizer
Signature-efSuthorized representative of debtor Printed name

 

Title Chairman ofthe Board

Date /O / 8/2019

18, Signature of attornay
MM/DD/YYYY

 

Fer Justin M, Luna 0037131
Printed name

Latham Luna Eden & Beaudine LLP a sr
Firm name

111 N. Magnolia Avenue
Suite 1400

Orlando, FL32801 SoS
Number, Street, City, State & ZIP Code

Contact phone (407) 487-5800 Email address

0037131 FL
Bar number and State

Official Form 204 Voluntary Petition for Non-Indlviduals Filing for Bankruptcy page 4
Case 6:19-bk-06589-KSJ Doc1 Filed 10/08/19 Page 5 of 14

 
   

: Debtor name Vila Alrlines, Inc.
United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

‘Case number (if known)
C] Check if this ts an

: amendsd filing

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors asx

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the Identity of the document,
and the date. Bankruptcy Rules 1008 and 6014.

WARNING = Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptey case can result In fines up to $500,000 or imprisonment for up te 20 years, or both. 18 U.S.C, §5§ 152, 1341,
1849, and 3571,

ee Declaration and signature

lam the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

 

 

 

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets~Real and Parsonal Property (Official Form 206A/B)

Schedule D: Crediters Who Have Claims Secured by Property (Cfficial Form 206D)

Schedule E/F: Creditors who Have Unsecured Clalins (Official Form Z206E/F)

Schedule G: Executory Contracis and Unexpired Leases (Official Form 2066)

Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-indlviduals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)

Other document that requires a declaration

 

 

 

 

OB80000000

| declare under penalty of perjury that the foregoing is true and correct.

Executedon __la/alig. x ———_ oe
Signattt@artnaiv ual signing on behalf of debtor

 

Amos Vizer__

 

Printed name
Chairman of the Board re
Pesition or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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Case 6:19-bk-06589-KSJ Doc1 Filed 10/08/19 Page 6 of 14

   

TnL CME!

  

Debtor name Via Airlines,

 

Inc.

United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA ~~

Case number (if known):

a

Official Form 204

Chapter 11 or Cha

Are Not Insiders

A list of creditors holding the 20 largest unsecured claims

debtor disputes. Do not include claims

include claims by secured creditors,
among the holders of the 20 largest

 

 

 

by any person or entity who is
unlegs the unsecured claim resulting from |
unsecured claims.

must be file

an insider,

   

O Check if this is an

amended filing

pter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and

1245

d in a Chapter 11 or Chapter 9 case. Include claims which the
as defined in 14 U.S.C. § 101(31). Also, do not
nadequate collateral value places the creditor

 

 

 

 

Name of craditor and

complete mailing address, and ema address of

including zp code

(AEG
| 25025 Interstate 45
Sulte 550

The Woodlands, TX |
77380 |

creditor contact

. Name, telephone number | Naiure of claim
‘ dor example trade
| debts. bank loans

professional services
and government
contracts}

indicate if claim
is contingent,
unliquidated, or
disputed

Amount of claim

If the claim is fully unsecured. fill in only unsecured claim. amount. If |

laim is patvally secured. fill in total claim amount and deduction fo
| value of collateral or setoff to calculale unsecured claim,
Deduction for value

Total claim, if
partially secured

i Unsecured claim

of collateral or setoff j

 

 

Trade debt

Uniiquidated

Disputed

 

$207,907.00:

 

Air Station Aviation,
‘inc.

12510 Metro
Parkway

Fort Myers, FL
33866

 

American Express
9550 Regency
Square Bivd.
Suite 504
Jacksonville, FL
32225

Leasing
2055 Pegasus RD
NE

Calgary, Alberia
| Canada, T2E 803

intl.

| Office of the
Aviation Dir.

PO Box 19066
Chariotte, NC 28219

Avmax Aircraft = |

Charlotte Douglas |

“Trade debt

Unliquidated
Disputed

 

 

 

Loan

Credit card
purchases

 

 

Unliquidated |
: Disputed

$101,753.41

 

$617,000.00

 

 

 

 

 

 

$1,000,000.00

 

 

Trade debt

Disputed

 

$227,685.00:

 

 

 

 

Chase Visa
C/O National Bank
PO Box 36520

 

Louisville, KY
40233-6520 i

 

 

 

 

: Credit card
, purchases

 

 

 

$135,866.00

 

 

 

 

Official jorm 204

Chapter 11 or Chapter $ Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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page 1

Best Case Bentrupicy
Case 6:19-bk-06589-KSJ Doc1 Filed 10/08/19 Page 7 of 14

Debtor Via Airlines, Inc. oo Case number ji? known}
Name

 

 

 

i Name of creditor and | Name, telephone number | Nature of clam Indicate if ciaim | Amount of claim
complete mailing address, | and-emall address of (for example, trade is contingent, | Hf the claims fully unsecured. fil in only unsecured claim amount If
including zip code creditor contact debts, bank loans. unliquidated, or | claims partally secured filin iotal claim amount and deducuon for
professional services, disputed value of collateral or setoff 10 Calculate ie unsecured claw claim _.
Total claim, if Deduction for vaiue _ ‘Unsecured claim
partially secured _| of collateral or setoft

Embraer Trade debt Unliquidated $141,540.00
1276 Southwest 34th ' Disputed
| Street i
Fort Lauderdale, FL
(33315 ; ;
‘First Data Merchant | Passenger Unliquidated $514,000.00
: Account Refunds Disputed
150 N College Street
15th Floor
| Charlotte, NC 28202
KeyBank Loan Unliquidated
800 Superior Disputed
Avenue i
tst Floor
Cleveland, OH 44114. ; . as
KS AirOne, LLC | : Convertible Note $863,220.00
12805 Maltland
i Center Pkwy
Suite A
| Maitiand, FL 32754 : it a
LoneStar Airport Trade debt 'Unliquidated - $72,211.55
Holdings Disputed
10000 Log|stics
Lane
Austin, TX 78719 oh
Marsh USA Inc insurance ' Unliquidated $107,866.00
Marsh Aviation and i Disputed
Aerospace
Attn: Kim Carison |
1717 Main Street
Dallas, TX75201 2 _ _ ; /
MMA Aviation, LLC ‘ Convertible Note $400,000.00
cio Lowndes
Drosdick
215 N. Eola Drive
Orlande, FL 32801 fe = ee
N251 YV, LLC Unliquidated | $1,334,799.94 |
Attn:; Tom Neal Disputed
332 North Magnolia !
Avenue
Orlando, FL 32601 a a a —
Oklahoma City Trade debt Unliquidated $78,282.43
Airport Trust Disputed
7100 Terminal Drive
Box 937 i
‘Oklahoma City, OK | i

73159 _.

Precision Aviation Trade debt Uniiquidated $260,383.00 |

Group | Disputed '
{495 Lake Mirror | Subjectto |

Road Setoff i

#800-G

Atlanta, GA 30349

 

 

 

 

 

 

$4,500,600.60

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 2

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Hebter Via Airlines, Inc,

Name

 

Case number (if known)

 

Name of creditor and
complete mating address,
including zip code

Name, telephone number
| and email address of
| creditor contact

i

Nature of claim

(for example, trade
debts. bank loans.
plofessional services,

Indicate if claim
\s contingent,
unliquidated, or
disputed

Amount of claim

if the claim ts fully unsecured, #4 im only unsecured claim amount, If
claim is partially secured, fill in total claim amount and deduction fot
value of collateral or setoff to calculate unsecured claim

 

 

Total clalm, if
partially secured —

Deduction for vaiue
of collateral or setoff

Unsecured claim

 

 

 

 

Sabre GLSL inc.
3150 Sabre Brive
Southlake, TX 76092
Wells Fargo Bank
AW, NA |
Elite Business
Aircraft, LLG

299 Main Straet
5th Floor, MAC
U1228-051

| Sasit Lake City, UT
(84111

 

Trade debt

Unliquidated
Disputed

 

| Aircraft Lease

 

$72,888.28

 

$3,826,000.00

 

 

'World Fuel Services
| 9800 NW 41st Street |
Miami, FL33178

Trade debt

Unliquidated

Disputed

$164,139.75 |

 

 

 

Yellow Butterfly
Investments
| 230 W Reading Way
Winter Park, FL

 

 

Convertible Note

 

 

 

 

 

 

 

 

32789

Official form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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page 3

Best Case Bankruatcy
Case 6:19-bk-06589-KSJ Doc1 Filed 10/08/19 Page 9 of 14

United States Bankruptey Court
Middle District of Florida

Inre Via Alrlines, Inc, |

Debtor(s)

Case No.
Chapter 1

 

LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 1] Case

 

 

 

“Name and last known address or place of
business of holder

KS Air One, LLC

2605 Maitland Center Pkwy
Suite A

Maitland, FL 32751

 

Ciass C, Serles 8.76%
B

Via EO Capital, LLC Class C, Series 22.8%
218 Jackson Street A
Maitland, FL. 32751

ViaAir Aviation Holdings Class A 68.4%
111 S. Maitland Avenue

Maitland, FL 32751

Security Class “Number of Securities

 

Kind of Interest

Equity

Equity

Equity

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

1, the Chairman of the Board of the corporation named as the debtor in this case, declare under penalty of perjury
that I have read the foregoing List of Equity Security Holders and that il is true and correct to the best of my information

and belief.

_lelsliq___

Date

Signature

Amos Vizer em

Penalty for making a false siatement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both,

18 U.S.C, &§ 152 and 3571,

Sheet 1 of 1 in List of Equity Security Holders
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Best Case Banthruptcy
Case 6:19-bk-06589-KSJ Doci1_ Filed 10/08/19 Page 10 of 14

United States Bankruptcy Court
Middle District of Florida

Inte _Via Airlines, Inc. ae Case No.

Debtor(s) Chapter 11 . oe

VERIFICATION OF CREDITOR MATRIX

I, the Chairman of the Board of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.

Date: _ lalelt, ee eee

Amos Vizer/Chaifman of the Board
Signer/Title

 

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Case 6:19-bk-06589-KSJ Doc1_ Filed 10/08/19

Via Alrlines, Inc.
218 Jackson Street
Maitland, FL 32751

Justin M. Luna

Latham Luna Eden & Beaudine LLP
111 N. Magnolia Avenue

Suite 1400

Orlando, FL 32801

111 Maitland, LLC
141 S. Maitland Avenue
Maitland, FL 32751

218 Jackson, LLC
111 S. Maitland Avenue
Maitland, FL 32751

AEG

25026 Interstate 45
Suite 550

The Woodlands, TX 77380

Air Station Aviation, Inc.
12510 Metro Parkway
Fort Myers, FL 33966

Air X
5625 NW 15th Ave
Fort Lauderdale, FL 33309

Airgas USA, LLC

259 North Radnor-Chester RD
Suite 100

Radnor, PA 19087-5283

AIRNG
2551 Riva Read
Annapolis, MD 03054

American Express

$550 Regency Square Blvd.
Suite 501

Jacksonville, FL 32225

American Express Corporate
PO Box 650448
Dallas, TX 75265-0448

Anset Aircraft Spares
12675 Encinitas Avenue
Sylmar, CA 91342

Ascentium Capital Leasing
23970 Highway 59 N.
Kingwood, TX 77339

AvFuel Corporation
47 E. Ellsworth Road
Ann Arbor, Mi 48108

Aviall Services, inc.
PO Box 619048
Dallas, TX 75261

Avmax Aircraft Leasing
2055 Pegasus RD NE
Calgary, Alberta
Canada, T2E 8C3

Bank of America

Attn: Mmiguel M. Cordano
Liebler Gonzalez Porituondo
44 West Flagler Street
Miami, FL 33130

Bank of America First Data
150 North College Street
15th Floor

Charlotte, NC 28202

C&L Aerospace
40 Wyoming Avenue
Bangor, ME 04401

CAMP

11 Continental Blvd
Suite C

Merrimack, NH 03054

Page 11 of 14

CAP Air Freight, Inc.
Attn: Thomas & Thomas
2323 Park Avenue
Cincinnati, OH 45206

Charlotte Douglas Intl.
Office of the Aviation Dir.
PO Box 18066

Charlotte, NO 28249

Chase Visa

G/O National Bank

PO Box 36520
Louisville, KY 40233-6520

City of Austin
Department of Aviation
3600 Presidential Blvd
Suite 411

Austin, TX 78719

City of Maitland

Maitland Municipal Complex
1776 Independence Lane
Maitland, FL 327514

Clinton National Airport
Attn: Executive Director
1 Airport Drive

Lilttle Rock, AR 72202

Commuter Spares Intl Inc.
10609 Chillicothe Road
Kirtland, OH 44094

Duke Energy
PO Box 1004
Charlotte, NC 28201

Embraer
276 Southwest 34th Street
Fort Lauderdale, FL 33315

Expense Watch, Inc.

620 W.w Germantown Pike
Sulte 220

Plymouth Meeting, PA 19462
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First Data Merchant Account
150 N College Street

15th Floor

Charlotte, NC 28202

Flight Safety International
PO Box 75691
Charlotte, NC 28275

FNB Equipment Finance
Attn: Vincent M. Roskovnsky
Clark Hill, PLC

301 Grant Street

Pittsburgh, PA 15219

Freightquote, Inc.
901 Carondelet Crive
Kansas City, MO 64114

Garafalo Goerlich Hainbach
1200 New Hampshire Ave NW
Susite 550

Washington DC, DC 20036

Gary Kieiman

5700 Arbor Club Way
#7

Boca Raton, FL 33433

Gary Salyers Cleaning Serv
Stenstrom Mcintosh Colbert
300 International Parkway
Suite 100

Lake Mary, FL 32746

Global Aviation Services
970 Aldrin Drive
Fagen, MN 55127

IberiaBank

Attn: Michael Waskiewicz
50 N. Laura Street
Suite 3000

Jacksonville, FL 32202

IntelliSys Aviation Systems
75 Prince William St.
St. John, NB E2L 2B2, Canada

Internal Revenue Service
Centralized insolvency Ops
PO Box 7346

Philadelphia, PA 19101-7346

Jon Edward Rose Trust
333 Trtisman Terrace
Winter Park, FL 32789

Kelly & Brian Hassler
2608 Running Wyld
Leander, TX 78644

KeyBank
800 Superior Avenue
1st Floor
Cleveland, OH 44114

Kronos Airline Solutions
11962 SW 126th Lane
Miami, FL 33186

KS Air One, LLC

2605 Maitland Center Pkwy
Suite A

Maitland, FL 32761

LoneStar Airport Holdings
10000 Logistics Lane
Austin, TX 78719

M2 Lease Funds, LLC
175 Patrick Blvd, #135
Brookfield, WI 53045

Marsh USA Inc

Marsh Aviation and Aerospace
Attn: Kim Carlson

1717 Main Street

Dallas, TX 75204

Mayra Concepcion

Altn: Brandon J. Hill, Esq.
1110 N. Florida Avenue
Tampa, FL 33602

Page 12 of 14

Miller Canfield

150 West Jefferson
Suite 2560

Detroit, MI 48226

MMA Aviation, LLC
clo Lowndes Drosdick
215 N. Eola Drive
Orlando, FL 32801

Modlin Slinsky P.A,

1551 Sawgrass Corp. Pkwy
Suite 110

Sunrise, FL 33323

Mountain Aircraft Maintenanc
Attn: Ralph Marcadis, Esq.
5104 S. Westshore Blvd
Tampa, FL 33611

N251 YV, LLCO

Attn; Tom Neal

332 North Magnolia Avenue
Orlando, FL 32801

N650CT, LLC
111 S. Maitland Avenue
Maitland, FL 32751

N653CT, LLC
111 S. Maitland Avenue
Maitland, FL 32751

N977SD, LLC
111 S. Maitland Avenue
Maitland, FL 32751

NavTech Systems Support, Inc
295 Hagey Boulevard

Suite 200

Waterloo, Ontario, N2L 6R5

O'Reilly Hospitality Mgmt
Atin: Kevin Algec

291 Financial Drive
Hollister, MO 65672
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Oklahoma City Airport Trust
7100 Terminal Drive

Box 937

Oklahoma City, OK 73159

Optimal Electric
2010 Marquette Avenue
Sanford, FL 32773

POWWOW, LLC

Attn: Jonathan Martone
151 S. Old Woodward Ave.
Suite 200

Birmingham, AL 48009

Precision Aviation Group
495 Lake Mirror Road
#800-G

Atlanta, GA 30349

Sabre GLBL Inc.
3150 Sabre Drive
Southlake, TX 76092

Sanford Airport Authority
1200 Red Cleveland Blvd
Sanford, FL 32773

Sanford Airpert Authority
Attn: Brett Rernton, Esq.
Shutts & Bowen

PO Box 4956

Orlando, FL. 32801

Seminole Cty Tax Collector
Attn: Jeff Greenberg

PO Box 630

Sanford, FL 32772-0630

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Winter Park, FL 32789
Case 6:19-bk-06589-KSJ Doci1 Filed 10/08/19 Page 14 of 14

United States Bankruptcy Court
Middle District of Florida

Inre Via Airlines, Inc. ee Cuse No,

Debtor(s) Chapter Wo

CORPORATE OWNERSH!P STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to

recusal, the undersigned counsel for Via Airlines, Inc. in the above captioned action, certifies that the following isa

(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

Via EO Capital, LLC

218 Jackson Street

Maitland, FL 32751 _

ViaAir Aviation Holdings
111 5. Maitland Avenue
Maitland, FL 32751

enable the Judges to evaluate possible disqualification or

 

 

[ None [Check if applicable]

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te

& Justin M. Luna 0037131 -

Signature of Attorney or Litigant

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